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   IT IS ORDERED as set forth below:



   Date: October 20, 2023
                                                _____________________________________
                                                            James R. Sacca
                                                      U.S. Bankruptcy Court Judge

  _______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                     )     CHAPTER 7
                                           )
TIP TOP TUX, LLC, et al.                   )      CASE NO. 23-57716-JRS
                                           )
          Debtors.                         )      (Jointly Administered)

                           ORDER AND NOTICE OF HEARING

          PLEASE TAKE NOTICE that Jason L. Pettie, the Chapter 7 Trustee (“Trustee”) filed

Trustee’s Second Motion to Sell Personal Property (Property at Houston and Anya Bridal

Warehouses Through an Internet Auction and a 2018 Buick Through a Direct Sale) (“Sale

Motion”) on October 18, 2023.

          PLEASE TAKE FURTHER NOTICE Trustee filed his Motion to Shorten Notice Period

for Trustee’s Second Motion to Sell Personal Property (Property at Houston and Anya Bridal

Warehouses Through an Internet Auction and a 2018 Buick Through a Direct Sale) [Doc. No. 85]

(the “Motion”) on October 19, 2023, which requested an expedited hearing on the Sale Motion.

It is hereby



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          ORDERED that the Motion is GRANTED. It is further

          ORDERED AND FURTHER NOTICE is hereby given that the Court will hold a hearing

on Sale Motion at 10:30 A.M on November 2, 2023, in Courtroom 1404, Richard B. Russell

Federal Building and the United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia

30303, which may be attended in person or via the Court’s Virtual Hearing Room. You may join

the Virtual Hearing Room through the “Dial-in and Virtual Bankruptcy Hearing Information” link

at the top of the homepage of the Court’s website, www.ganb.uscourts.gov, or the link on the

judge’s webpage, which can also be found on the Court’s website. Please also review the “Hearing

Information” tab on the judge’s webpage for further information about the hearing. You should

be prepared to appear at the hearing via video, but you may leave your camera in the off position

until the Court instructs otherwise. Unrepresented persons who do not have video capability may

use the telephone dial-in information on the judge’s webpage.

          Your rights may be affected by the Court’s ruling on these pleadings. You should read

these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court

to grant the relief sought in these pleadings or if you want the Court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response to the

pleadings with the Clerk at the address stated below, but you are not required to do so. If you file

a written response, you must attach a certificate of service stating when, how and on whom

(including addresses) you served the response. Mail or deliver your response so that it is received

by the Clerk before the hearing. The address of the Clerk’s Office is Clerk, U. S. Bankruptcy

Court, Suite 1340, 75 Ted Turner Drive, Atlanta, Georgia 30303. You must also mail a copy of

your response to the undersigned at the address stated below. Trustee shall provide service of this




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Order and Notice of Hearing upon all interested parties as required by this Court’s Order and

Notice Granting Trustee’s Motion to Limit Service [Doc. No. 32], within twenty four (24) hours

of entry of this Order.

                                      [END OF ORDER]

Prepared and presented by:

TAYLOR ENGLISH DUMA, LLP

By: /s/ Jason L. Pettie
    Jason L. Pettie
   Georgia Bar No. 574783
1600 Parkwood Circle, Suite 200
Atlanta, GA 30339
Tele: (678) 336-7226
Email: jpettie@taylorenglish.com
Attorneys for Trustee




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